                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE


UNITED STATES OF AMERICA,                            )
                                                     )
               Plaintiff,                            )
                                                     )
v.                                                   )       No. 3:06-CR-123
                                                     )       (JORDAN/GUYTON)
DOUGLAS TROY THOMPSON and                            )
RANDALL THOMPSON,                                    )
                                                     )
               Defendants.                           )


                               MEMORANDUM AND ORDER

       All pretrial motions in this case have been referred to the undersigned pursuant to 28 U.S.C.

§ 636(b) for disposition or report and recommendation regarding disposition by the District Court

as may be appropriate. This case came before this Court on the government’s Motion to Quash

Subpoenas [Doc. 43], and a hearing was conducted on March 27, 2007. Present on behalf of the

government was Assistant United States Attorney Cynthia F. Davidson. Attorney Leslie McAdoo

participated via telephone on behalf of the defendant Douglas Thompson. Attorney John T. Milburn

Rogers participated via telephone on behalf of Randall Thompson. Neither defendant was present.

Argument was heard and this Court took the motion under advisement. Based upon the arguments

of the partied, on April 10, 2007, the Court issued an Order suggesting that the government and

defendant Douglas Thompson determine whether the issues could be resolved with more detail about

the subject matter of the subpoenas. The Court then scheduled this matter for a telephonic

conference on April 19, 2007, for AUSA Davidson and Attorney McAdoo to report what, if any,

agreement has been reached as to the subject material of all or any part of these subpoenas. On that

date, the parties reported that they had made progress toward resolving the disclosure issues before



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the Court. AUSA Davidson and Attorney McAdoo advised that they believed further Order of the

Court would not be necessary, but reserved the right to renew their disagreement as to specific

material at the Pretrial Conference on June 11, 2007. As the Court was not presented with any

further dispute as to the material subpoenaed by Attorney McAdoo, the government’s Motion to

Quash Subpoena Duces Tecum [Doc. 43] is DENIED as moot.

       During the pendency of these issues before the Court, defendant Douglas Thompson

requested leave to file material under seal in his Motion to Seal Formal Offer of Proof in Support

of Interlocutory Appeal (Brady Issue) [Doc. 55]. Given the circumstances described in the motion,

the request is GRANTED.

               IT IS SO ORDERED.

                                             ENTER:


                                                  s/ H. Bruce Guyton
                                             United States Magistrate Judge




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